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FoR THE WESTERN DISTRICT oF TENNESSEE;’ .<l;§ ?i<§;;/? ea '€,’
EASTERN DIvIsIoN 45 §,z?<\’?<>/ ‘2'00.,
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'41/$>34“
CEDRIC D. WHITESIDE a/k/a ) “ '»?1/ ~/`
MALCOLM WHITESIDE, )
)
Plaintiff, )
)
VS. ) No. 04-1220-T/An
)
DAVID WOOLFORK, ET AL., )
)
Defendants. )

 

ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

The plaintiff, Cedric D. Whiteside a/k/a Malcolm Whiteside, an inmate at the Northwest
Correctional Complex in Tiptonville, Tennessee, has filed a motion requesting the appointment of
counsel in this action brought pursuant to 42 U.S.C. § 1983.

The Court is authorized, pursuant to 28 U.S.C. § 1915(e)(l), to “request an attorney to
represent any person unable to afford counsel.” However, the decision whether to request an
attorney to represent a person in a civil case is lett to the sound discretion of the district court. §
Lavado v. Keohane, 992 F.Zd 601 , 604 (6th Cir. 1993) (quoting Reneer v. Sewell, 975 F.2d 258, 261
(6th Cir. 1992)). There is no constitutional right to appointed counsel in a civil case and, as a general

rule, counsel Will only be appointed in exceptional circumstances _S_L Lavado, 992 F.2d at 605-06;

 

Bunton v. Englemy;e, 557 F. Supp. 1, 4 (E.D. Tenn. 1982); Willett v. Wells, 469 F. Supp. 748, 751

(E.D. Tenn. 1977), aff’d, 595 F.Zd 1227 (6th Cir. 1979).

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Deterrnining Whether such exceptional circumstances exist in a particular case involves a
fact-specific inquiry turning upon the merits of the indigent’s claims, the nature and complexity of
the case, and the indigent’s ability to present the case. S_ee_ M, 992 F.2d at 606; McCarthy v.
Weinberg, 753 F.2d 836, 838-39 (10th Cir. 1985) (per curiam); Merritt v. Faulkner, 697 F.2d 761,
764 (7th Cir. 1983). “Appointment of counsel pursuant to 28 U.S.C. § 1915[(e)(1)] is not
appropriate when . . . the chances of success are extremely slim.” M, 992 F.2d at 606 (quoting
Mars v. Hanbe@, 752 F.2d 245, 256 (6th Cir. 1985)).

Plaintiff contends that exceptional circumstances are present in this case because his inmate
legal assistant is being transferred to another facility. However, the Court has examined the factual
allegations in the complaint and the legal issues raised, and concludes that plaintiff has not
demonstrated that the issues are so complex that he cannot adequately represent himself. Therefore,
the Court finds no exceptional circumstances warranting the appointment of counsel

Accordingly, plaintiff’s motion for appointment of counsel is DENIED.

IT IS SO ORDERED.

@¢MAM

D. TODD
ED STATES DISTRICT JUDGE

3 /77.¢»,/ 200§/

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 1:04-CV-01220 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

